                           Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 1 of 36
 AO 257 {Rev. 6/78)


      DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
 BY: □ COMPLAINT □ INFORMATION [El INDICTMENT
                                                                                                      Name of District Court, and/or Judge/Magistrate Location

              OFFENSE CHARGED
                                                             [E SUPERSEDING                             NORTHERN DISTRICT OF CALIFORNIA

                                                                                                                       OAKLAND DIVISION
  Counti; 18U.S.C.sec.371                                            □ Petty
  Count 2; 21 U.5.C. sec. 846,841(a)(1), (b)(1)(A)
                                                                     I I Minor
  Counts: 18 U.S.C.sec.922(a)(1)(A)
  Count 9: 18 U.S.C. sec. 922(o)
  Count 10: 18 U.S.C. sec. 922(k)                                           Misde
                                                                                            - DEFENDANT-U.S
                                                                                                                                             PftEO
  Counts 15,18: 21 U.S.C. sec. 841(a)(1), (b)(1)(B)                  □      meanor           1^ Daniel James
  Counts 16.19-21:21 U.S.C. sec. 841(a)(1). (b)(1)fCl
                                                                            Felony
                                                                                                                                            JOL 18 2019 ^
                                                                                                  DISTRICT COURT NUMBER
 PENALTY:
                                                                                                                                   CLERK®V?c               SOONG
                See Attached
                                                                                                   CR 19-043 YGR                north district of cal^®^
                                                                                                                                            OAKLAND OFRCE °"'^''^
                                                                                                                            DEFENDANT
                                PROCEEDING                                                          IS WOriN CUSTODY
   Name of Complaintant Agency, or Person (& Title, if any)                                           Has not been arrested, pending outcome this proceeding.
                                                                                            1) nH If not detained give date any prior                      .
                                    ATF                                                               summons was served on above charges 1^
   I—I person is awaiting trial In another Fetjeral or State Court,                         2) □ Is a Fugitive
   I—I give name of court
                                                                                            3) □ Is on Bail or Release from (show District)

        this person/proceeding is transferred from another district
   □    per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                    IS IN CUSTODY

                                                                                            4)     ^ On this charge
        this is a reprosecution of
        charges previously dismissed                                                        5) □ On another conviction         1
   □   which were dismissed on motion                              SHOW
                                                                                                                                /             □ Federal □ State
        of:                                                     DOCKET NO.
                                                                                            6) □ Awaiting trial on other charges
        □ U.S. ATTORNEY

       this prosecution relates to a
                                     □DEFENSE
                                                           }                                          If answer to (6) is "Yes", show name of institution


  I I pending case involving this same                                                                                              If "Yes"
                                                                                                 Has detainer IHi
       defendant                                                MAGISTRATE
                                                                 CASE NO.
                                                                                                 been filed?
                                                                                                                □ No           }    give date
                                                                                                                                    filed

       prior proceedings or appearance{s)                                                        DATE OF                     Month/Day/Year
  I I before U.S. Magistrate regarding this
       defendant were recorded under                       }                                     ARREST                            1/10/19

                                                                                                 Or... if Arresting Agency & Warrant were not
Name and Office of Person                                                                        DATE TRANSFERRED                           Month/Day/Year
Furnishing Information on this form                     David L. Anderson                        TO U.S. CUSTODY               I
                                   U.S. Attorney Q Other U.S. Agency
Name of Assistant U.S.                                                                           □ This report amends AO 257 previously submitted
Attorney (if assigned)                       Shiao Lee and Frank Riebli

                                                          ADDITIONAL I NFORMATION OR COMMENTS
  PROCESS:

       □ SUMMONS □ NO PROCESS* □ WARRANT                                            Ball Amount;
       If Summons, complete following;
       □ Arraignment □ Initial Appearance                                        * Where defendant previously apprehended on complaint, no new summons or
                                                                                 warrant needed, since Magistrate has scheduled arraignment
       Defendant Address:

                                                                                    Date/Time;                                 Before Judge:
                                                                                                                                                 Documetil Nu.
       Comments:
                                                                                                                                                        11/ c
                                                                                                                                                     District Court
                                                                                                                                                Crimifrat Case Processing
       1
           Case
            ■
                4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 2 of 36




                             PENALTY SHEET - DANIEL JAMES


Count One:      18 U.S.C. § 371 - Conspiracy to Commit Offenses Against the United States
                Maximum Penalties: 5 years imprisonment; 3 years of supervised release;
                $250,000 fine; $100 special assessment; forfeiture.

Count Two: 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A) and (b)(1)(B)- Conspiracy to
manufacture, distribute, or possess with intent to distribute controlled substances, to wit 280
grams or more of cocaine base and 500 grams or more of cocaine powder
              Maximum Penalties: minimum 10 years prison, maximum life imprisonment;
              5 years to life of supervised release; $10 million fine; $100 special assessment;
              forfeiture; denial of federal benefits.

Count Three: 18 U.S.C. § 922(a)(1)(A) -- Unlawfully engaging in the business of dealing in
firearms without a license
                Maximum Penalties: 5 years imprisonment; 3 years of supervised release;
                $250,000 fine; $100 special assessment; forfeiture.

Count Nine:     18 U.S.C. § 922(o)-Possession of a Machine Gun
                Maximum Penalties: 10 years imprisonment; 3 years of supervised release;
                $250,000 fine; $100 special assessment; forfeiture.

Count Ten:      18 U.S.C. § 922(k)-Possession of a Firearm with an Obliterated Serial Number
                Maximum Penalties: 5 years imprisonment; 3 years of supervised release;
                $250,000 fine; $100 special assessment; forfeiture.

Counts Fifteen, Eighteen:       21 U.S.C. § 841(a)(1) and (b)(1)(B)- Distribution and Possession
with Intent to Distribute 28 grams or more of Cocaine Base
                Maximum Penalties: minimum 5 years prison, maximum 40 years prison; 4 years
                to life of supervised release; $5 million fine; $100 special assessment; forfeiture;
                denial offederal benefits.


Counts Sixteen, Nineteen, Twenty, Twenty-One: 21 U.S.C. § 841(a)(1) and (b)(1)(C)-
Distribution and Possession with Intent to Distribute Cocaine or Cocaine Base
                Maximum Penalties: 20 years imprisonment; 3 years to life of supervised release;
                $1 million fine; $100 special assessment; forfeiture; denial of federal benefits.
                         Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 3 of 36
 AO 25t(Rev. 6/78)

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
  BY; □ COMPLAINT □ INFORMATION M INDICTMENT
                                                                                              Name of District Court, and/or Judge/Magistrate Location

             ■OFFENSE CHARGED
                                                     [3 SUPERSEDING                              NORTHERN DISTRICT OF CALIFORNIA

  Cour>t2; 21 U.S.C.sec.846,841(a)(1),(b)n)(A)                                                                 OAKLAND DIVISION
                                                             I I Petty
  Count14: 18 U.S.C sec. 922(g)(1)
                                                             I 1 Minor             f- DEFENDANT-U.S
                                                                    Misde
                                                             □      meanor           ^ George Moore, Jr.
                                                                    Felony
                                                                                          DISTRICT COURT NUMBER
 PENALTY:
               See Attached
                                                                                           CR 19-043 YGR



                                                                                                                    DEFENDANT
                              PROCEEDING                                                    IS A/OriNCUSTODY
   Name of Complaintant Agency, or Person (& Title, if any)                                   Has not been arrested, pending outcome this proceeding.
                                                                                    I) Q If not detained give date any prior                  .
                                    ATT                                                       summons was served on above charges ^
   j—I person is awaiting trial in another Federal or State Court,                  2) Q Is a Fugitive
   I—I give name of court
                                                                                    3)        Is on Bail or Release from (show District)

   r—j this person/proceeding is transferred from another district                                          Northern District of California
     I per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                            IS IN CUSTODY
                                                                                    4) Q] On this charge
       this is a reprosecution of
   |—J charges previously dismissed                                                 5) Q On another conviction                 *1
   L-l which were dismissed on motion                       SHOW
                                                                                                                                /     Q Federal Q State
       of;                                               DOCKET NO.
                                                                                    6)       Awaiting trial on other charges
       □ U.S. ATTORNEY           Q DEFENSE

      this prosecution relates to a
                                                    }                                         If answer to (6) is "Yes", show name of institution


  [~1 pending case involving this same                                                                                      If "Yes"
                                                                                         Has detainer EH
      defendant                                         MAGISTRATE
                                                         CASE NO.
                                                                                         been filed?
                                                                                                                       }    give date
                                                                                                                            filed

      prior proceedings or appearance(s)                                                 DATE OF        I            Month/DayA'ear
  r~| before U.S. Magistrate regarding this
      defendant were recorded under                }                                     ARREST         ^                 1/10/19
                                                                                         Or... if Arresting Agency & Warrant were not
Name and Office of Person                                                                DATE TRANSFERRED              4            Month/Day/Year
Furnishing information on this form              David L.Anderson                        TO U.S. CUSTODY               ^
                              I U.S. Attorney □ Other U.S. Agency
Name of Assistant U.S.
                                                                                         I I This report amends AO 257 previously submitted
Attorney (if assigned)                   Shiao Lee and Frank Rlebli

                                                   ADDITIONAL INFORMATION OR COMMENTS
  PROCESS;

       □ SUMMONS □NO PROCESS- □ WARRANT                                     Bail Amount;
       If Summons, complete following;
       □ Arraignment □ Initial Appearance                                * Where defendant previously apprehended on complaint, no new summons or
                                                                         warrant needed, since Magistrate has scheduled arraignment
      Defendant Address;


                                                                         Date/Time:                                    Before Judge;

       Comments:
        Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 4 of 36




                        PENALTY SHEET - GEORGE MOORE JR.

Count Two: 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A) and (b)(1)(B)- Conspiracy to
manufacture, distribute, or possess with intent to distribute controlled substances, to wit 280
grams or more of cocaine base and 500 grams or more of cocaine powder
              Maximum Penalties: minimum 10 years prison, maximum life imprisomnent;
              5 years to life of supervised release; $10 million fine; $100 special assessment;
              forfeiture; denial offederal benefits.

Count Fourteen: 18 U.S.C. § 922(g)(1)- Felon in Possession of a Firearm
              Maximum Penalties: 10 years imprisonment; 3 years of supervised release;
              $250,000 fine; $100 special assessment; forfeiture.
                          Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 5 of 36
AO 25?^(Rev. 6/78)


       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

BY: □ COMPLAINT                □ INFORMATION                  INDICTMENT                          Name of District Court, and/or Judge/Magistrate Location

                                                              SUPERSEDING                           NORTHERN DISTRICT OF CALIFORNIA
             OFFENSE CHARGED
                                                                                                                   OAKLAND DIVISION
 Count 2; 21 U.S.C sec. 846,841{a)(l), (b)(1)(A)                   □ Petty
 Count 22: 21 U.S.C sec. 841(a)(1), {b)(1)(C)
                                                                   [ I Minor
                                                                        Misde
                                                                                      r- DEFENDANT - U.S
                                                                                                                                         fltED
                                                                   □    meanor           1^ Terry Walker, Sr.
                                                                   [X] Felony
                                                                                                                                        ■ini-isan
                                                                                              DISTRICT COURT NUMBER                      cmoak, w ^
PENALTY:                                                                                                                        CLERK no         SOONQ
               See Attachied




                                                                                                                        DEFENDANT

                               PROCEEDING                                                       IS N07IN CUSTODY
                                                                                                  Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                               1) n If not detained give date any prior                 .
                                                                                                  summons was served on above charges ^
                                        ATP

       person is awaiting trial in another Federal or State Court,                       2) 1^ Is a Fugitive
  □ give name of court
                                                                                         3)       Is on Bail or Release from (show District)

                                                                                                                Northern District of California
       this person/proceeding is transferred from another district
  □    per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                IS IN CUSTODY

                                                                                         4) Q On this charge
       this is a repfosecution of
       charges previously dismissed                                                      5) r~l On another conviction              1
  □    which were dismissed on motion                             SHOW
                                                                                                                                    I      d]          nn
       of:                                                     DOCKET NO.
                                                                                         6) Q Awaiting trial on other charges
        Q U.S. ATTORNEY             Q DEFENSE
                                                         }                                         If answer to (6) is 'Yes", show name of institution

       this prosecution relates to a                                                                                             If "Yes"
  I I pending case involving this same                                                        Has detainer D
       defendant                                               MAGISTRATE
                                                                CASE NO.
                                                                                              been filed?
                                                                                                             □ No           }    give date
                                                                                                                                 filed

                                                                                              DATE OF                    Month/DayA'ear
       prior proceedings or appearance(s)                                                                   I
  [~] before U.S. Magistrate regarding this
       defendant were recorded under                     }                                    ARREST                             1/10/19

                                                                                              Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                     DATE TRANSFERRED              4            Month/DayYear
Furnishing Information on this form                   David L. Anderson                       TO U.S. CUSTODY               "
                                  U.S. Attorney □ Other U.S. Agency

Name of Assistant U.S.                                                                        I I This report amends AO 257 previously submitted
Attorney (if assigned)                          Shiao Lee and Frank Riebli

                                                         ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:

        □ SUMMONS                   NO PROCESS' □ WARRANT                        Bail Amount;

        If Summons, complete following:
        [~] Arraignment |~| Initial Appearance                                  * \A/f)ere defendant previously appretiended on complaint, no new summons or
                                                                                warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                 Date/Time:                                 Before Judge:

        Comments:
        Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 6 of 36




                        PENALTY SHEET - TERRY WALKER SR.


Count Two: 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A) and (b)(1)(B)- Conspiracy to
manufacture, distribute, or possess with intent to distribute controlled substances, to wit 280
grams or more ofcocaine base and 500 grams or more ofcocaine powder
              Maximum Penalties: minimum 10 years prison, maximum life imprisonment;
              5 years to life of supervised release; $10 million fine; $100 special assessment;
               forfeiture; denial of federal benefits.

Count Twenty-Two: 21 U.S.C. § 841(a)(1) and (b)(1)(C)- Distribution and Possession with
Intent to Distribute Cocaine Base
               Maximum Penalties: 20 years imprisonment; 3 years to life of supervised release;
               $1 million fine; $100 special assessment; forfeiture; denial offederal benefits.
                           Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 7 of 36
AO 257(Rev.6/78)


       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY: □ COMPLAINT                □ INFORMATION                0 INDICTMENT                              Name of District Court, and/or Judge/Magistrate Location
                                                            S SUPERSEDING                               NORTHERN DISTRICT OF CALIFORNIA
              OFFENSE CHARGED
                                                                                                                       OAKLAND DIVISION
 Count 2; 21 U.S.C. sec. 846,841(a)(1), (b)(1)(A)                      I I Petty
                                                                       I I Minor            (— DEFENDANT-U.S

                                                                              Misde
                                                                       □      meanor           ^ Dale Davis
                                                                              Felony
                                                                                                  DISTRICT COURT NUMBER
                                                                                                                                                JUL 18 2019 0^
PENALTY:        Minimum lOyears prison
                Maximum life imprisonment                                                         CR 19-043 YGR                       /-.I r-« SUSAN y. SOONG
                $10 million fine
                5 years to life supervised release
                Si 00 special assessment, forfeiture, denial of federal benefits
                                                                                                                            DEFENDANT

                                PROCEEDING                                                            IS A/OT IN CUSTODY
                                                                                                       Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                     1) □ If not detained give date any prior .
                                                                                                    summons was served on above charges ^
                                         ATF

        person is awaiting thai in another Federal or State Court,                             2) □ Is a Fugitive
  □     give name of court
                                                                                               3) □ Is on Bail or Release from (show District)
                                                                                                                     Northern District of California
     this person/proceeding is transferred from another district
   □ per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                      IS IN CUSTODY

                                                                                               4) □ On this charge
        this is a reprosecution of
        charges previousiy dismissed                                                           5) rn On another conviction             T
   □    which were dismissed on motion
                                                                       SHOW                                                             ?     □ Federal □ State
                                                                   DOCKET NO.
        of:
                                                                                               6) □ Awaiting trial on other charges
        □ U.S. ATTORNEY               □DEFENSE
                                                           }                                           If answer to (6) is "Yes", show name of institution

        this prosecution relates to a                                                                                                If "Yes"
                                                                                                  Has detainer CH
   I I pending case involving this same
        defendant                                                 MAGiSTRATE
                                                                     CASE NO.
                                                                                                  been filed?                   }    give date
                                                                                                                                     filed

                                                                                                    DATE OF      4            Month/DayA'ear
        prior proceedings or appearance(s)
   I I before U.S. Magistrate regarding this
        defendant were recorded under
                                                            }                                     ARREST         ^                  1/10/19

                                                                                                  Or... if Arresting Agency & Warrant were not

Name and Office of Person
                                                                                                    DATE TRANSFERRED jk                      Month/Day/Year
Furnishing Information on this form                    David L. Anderson                          TO U.S. CUSTODY               ^
                                    U.S. Attorney □ Other U.S. Agency
Name of Assistant U.S.                                                                              I I This report amends AO 257 previously submitted
Attorney (if assigned)                         Shiao Lee and Frank Riebli

                                                           ADDITIONAL INFORMATION OR COMMENTS
   PROCESS;

         □ SUMMONS □ NO PROCESS* □ WARRANT                                             Bail Amount:

         If Summons, complete following:
                                                                                       * Where defendant previously apprehended on complaint, no new summons or
         □ Arraignment □ initial Appearance                                            wamant needed, since Magistrate has scheduled arraignment
         Defendant Address:

                                                                                       Date/Time:                                Before Judge;

         Comments:
                          Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 8 of 36
  AO 2^ Re\<. 6178)

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
  BY: □ COMPWINT □ INFORMATION 0 INDICTMENT
                                                                                                  Name of District Court, and/or Judge/Magistrate Location

             •OFFENSE CHARGED
                                                          0 SUPERSEDING                              NORTHERN DISTRICT OF CALIFORNIA

  Count 2: 21 U.5.C. sec. 846,841(a)(1), (b)(1)(A)                                                                 OAKLAND DIVISION
                                                                  I [ Petty
  Counts 11,25: 18 U.S.C. sec. 922(g)(1)
  Counts13,24: 18 U.S.C. sec. 922(o)                              I I H/tinor            - DEFENDANT-U.S
  Count 20: 21 U.S.C. sec. 841(a)(1), (b)(1)(C)
                                                                         Misde
                                                                  □      meanor           1^ Paul Rivera                                  ^
                                                                  [Xj Felony
 PENALTY:
                                                                                                DISTRICT COURT NUMBER                          18 2019 0^
                See Attached
                                                                                                CR 19-043 YGR                  K,Sk^^KU^S^DJsTS^T^
                                                                                                                               north district

                                                                                                                        DEFENDANT
                                PROCEEDING                                                       IS WOriNCUSTODY
   Name of Complaintant Agency, or Person (& Title, if any)                                       Has not been arrested, pending outcome this proceeding.
                                                                                         1)n If not detained give date any prior                 .
                                          ATT                                                     summons was served on above charges ^
   □ person is awaiting trial In another Federal or State Court,                         2) □ Is a Fugitive
        give name of court

                                                                                         3) □ Is on Bail or Release from (show District)
   |-^ this person/proceeding is transferred from another district                                             Northern District of California
   LJ per(clrcleone)FRCrp20, 21,or40. Show District
                                                                                                 IS IN CUSTODY
                                                                                         4) □ On this charge
       this is a reprosecution of
   p-j charges previously dismissed                                                      5) □ On another conviction                "I
   I—I which were dismissed on motion                          SHOW
                                                                                                                                    S □ Federal □ State
       of:                                                   DOCKET NO.
                                                                                         6) □ Awaiting trial on other charges
        □ U.S. ATTORNEY

       this prosecution relates to a
                                     □DEFENSE
                                                        I                                         If answer to (6) is "Yes", show name of institution


  □ pending case involving this same                                                         Has detainer C]                    if "Yes"
       defendant                                             MAGISTRATE
                                                              CASE NO.
                                                                                             been filed?
                                                                                                            □ No           }    give date
                                                                                                                                filed
       prior proceedings or appearance(s)                                                    DATE OF                     Month/Day/Year
  □ before U.S. Magistrate regarding this
       defendant were recorded under                    }                                    ARREST                             1/10/19

                                                                                             Or... if Arresting Agency & Warrant were not
Name and Office of Person                                                                    DATE TRANSFERRED                           Month/Day/Year
Furnishing Information on this form                  David L. Anderson                       TO U.S. CUSTODY

                                 I U.S. Attorney □ Other U.S. Agency
Name of Assistant U.S.                                                                       □ This report amends AO 257 previously submitted
Attorney (if assigned)                       Shiao Lee and Frank Riebli

                                                       ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:

       □ SUMMONS [X] NO PROCESS* □ WARRANT                                       Bail Amount:
       If Summons, complete following:
       □ Arraignment □ Initial Appearance                                     * Where defendant previously apprehended on complaint, no new summons or
                                                                              warrant needed, since Magistrate has scheduled arraignment
       Defendant Address:


                                                                                Date/Time:                                 Before Judge:

       C omments:
        Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 9 of 36




                            PENALTY SHEET -PAUL RIVERA




Count Two: 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A) and (b)(1)(B)- Conspiracy to
manufacture, distribute, or possess with intent to distribute controlled substances, to wit 280
grams or more of cocaine base and 500 grams or more of cocaine powder
              Maximum Penalties: minimum 10 years prison, maximum life imprisonment;
               5 years to life of supervised release, $10 million criminal fine, $100 special
               assessment, forfeiture, denial of federal benefits.

Counts Eleven and Twenty-Five: 18 U.S.C. § 922(g)(1)- Felon in Possession of a Firearm
              Maximum Penalties: 10 years imprisonment; 3 years of supervised release;
               $250,000 fine; $100 special assessment; forfeiture.

Counts Thirteen and Twenty-Four: 18 U.S.C. § 922(o)-Possession of a Machine Gun
              Maximum Penalties: 10 years imprisonment; 3 years of supervised release;
              $250,000 fine; $100 special assessment; forfeiture.

Count Twenty: 21 U.S.C. § 841(a)(1) and (b)(1)(C)- Distribution and Possession with Intent to
Distribute Cocaine Base
               Maximum Penalties: 20 years imprisonment, 3 years to life of supervised release,
               $1 million criminal fine, $100 special assessment, forfeiture, denial of federal
               benefits.
                         Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 10 of 36
AO 257(^av. 6/78)


       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

BY: □ COMPLAINT                □ INFORMATION                 INDICTMENT                         Name of District Court, and/or Judge/Magistrate Location

                                                             SUPERSEDING                          NORTHERN DISTRICT OF CALIFORNIA
             OFFENSE CHARGED
                                                                                                                OAKLAND DIVISION'
 Count 2: 21 U.S.C. sec. 846,841 (a)(1), (b)(1)(A)                I I Petty
 Count?: 18 U.S.C. sec.922(o)
 Counts 8,12: 18 U.S.C. sec. 922(g)(1)                            I I Minor          f- DEFENDANT - U.S

                                                                      Misde
                                                                  □   meanor            ^ Darryl Washington                            iiu
                                                                      Felony            ^ DISTRICT COURT NUMBER^, ^ JULl8
                                                                                                                    SUSAN v
                                                                                                                            20ja ^^
PENALTY:
               See Attached                                                                 CR,M«YGR



                                                                                                                      DEFENDANT

                                PROCEEDING                                                    IS WOT IN CUSTODY
                                                                                                Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                             1) n If not detained give date any prior                .
                                                                                                summons was served on above charges ^
                                         ATF

       person is awaiting trial in another Federal or State Court,                     2) Q Is a Fugitive
  □    give name of court
                                                                                       3) 1^ Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
  □    per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                              IS IN CUSTODY

                                                                                       4) ^ On this charge
       this Is a reprosecution of
       charges previously dismissed                                                    5) ri On another conviction               ^
  □    which were dismissed on motion                            SHOW                                                             ?      Q Federal Q State
       of:                                                    DOCKET NO.
                                                                                       6) Q Awaiting trial on other charges
              U.S. ATTORNEY          Q DEFENSE
                                                        }                                        If answer to (6) is "Yes", show name of Institution

       this prosecution relates to a                                                                                           If "Yes"
       pending case involving this same                                                     Has detainer CH
       defendant                                              MAGISTRATE
                                                               CASE NO.
                                                                                            been filed?
                                                                                                           □              }    give date
                                                                                                                               filed
                                                                                                                        Month/DayA'ear
                                                                                            DATE OF
                                                                                                          I
                                                        }
       prior proceedings or appearance(s)
                                                                                            ARREST                            1/10/19
  [~] before U.S. Magistrate regarding this
       defendant were recorded under                                                        Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                   DATE TRANSFERRED                           Month/Day/Year
Furnishing Information on this form                  D avid L. Anderson                     TO U.S. CUSTODY               I
                                   U.S. Attorney □ Other U.S. Agency
Name of Assistant U.S.                                                                      I I This report amends AO 257 previously submitted
Attorney (if assigned)                         Shiao Lee and Frank Riebli

                                                        ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:

        □ SUMMONS                    NO PROCESS" □ WARRANT                     Bail Amount;

        If Summons, complete following:
        P] Arraignment p] Initial Appearance                                   * Where defendant previously apprehended on complaint, no new summons or
                                                                               warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                               Date/Time:                                  Before Judge:

        Comments:
       Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 11 of 36




                      PENALTY SHEET - DARRYL WASHINGTON




Count Two: 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A) and (b)(1)(B)- Conspiracy to
manufacture, distribute, or possess with intent to distribute controlled substances, to wit 280
grams or more of cocaine base and 500 grams or more of cocaine powder
               Maximum Penalties: minimum 10 years prison, maximum life imprisonment;
               5 years to life of supervised release; $10 million fine; $100 special assessment;
               forfeiture; denial of federal benefits.

Count Seven: 18 U.S.C. § 922(o)-Possession of a Machine Gun
              Maximum Penalties: 10 years imprisonment; 3 years of supervised release;
              $250,000 fine; $100 special assessment; forfeiture.

Count Eight, Twelve: 18 U.S.C. § 922(g)(1)- Felon in Possession of a Firearm
               Maximum Penalties: 10 years imprisonment; 3 years of supervised release;
               $250,000 fine; $100 special assessment; forfeiture.
                         Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 12 of 36
 AO 257(Rev. 6/76)


         DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
 BY: □ COMPLAINT □ INFORMATION [E INDICTMENT                                                            Name of District Court, and/or Judge/Magistrate Location

              -OFFENSE CHARGED
                                                            [E] SUPERSEDING                               NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                         OAKLAND DIVISION
  Count 2: 21 U.S.C. sec. 846,841(a)(1), (b)(1)(B)                     □ Petty
                                                                       I I Minor                   DEFENDANT-U.S


                                                                       □
                                                                             Misde
                                                                             meanor            1^ Cameron Moore-Wllliams                   filed
 PENALTY:       Minimum 5 years prison
                                                                             Felony
                                                                                                   DISTRICT COURT NUMBER JUI-18 20J9 ^
                Maximum 40 years prison                                                             CR 19-043 YGR
                $5,000,000 fi ne
                4 years to life supervised release following incarceration                                                     north district      <=°ORT
                $100 special assessment, forfeiture, denial of federal benefits                                                      OAKUNO opff
                                                                                                                                              OFFICE
                                                                                                                              DEFENDANT

                                PROCEEDING                                                            IS A/07 IN CUSTODY
   Name of Complaintant Agency, or Person {& Title, If any)                                             Has not been arrested, pending outcome this proceeding.
                                                                                              i)n if not detained give date any prior                  .
                                         ATF
                                                                                                        summons was served on above charges ^
        person is awaiting trial in another Federal or State Court,                           2)        is a Fugitive
   □    give name of court

                                                                                              3) [[] Is on Bail or Release from (show District)

        this person/proceeding is transferred from another district
   □ per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                     IS IN CUSTODY

                                                                                              4)        On this charge
        this is a reprosecution of
        charges previously dismissed                                                          5)        On another conviction
  □    which were dismissed on motion                                SHOW
        of:                                                      DOCKET NO.
                                                                                                                                          I      [H         n state
                                                                                              6) Q Awaiting trial on other charges
        □ U.S. ATTORNEY

       this prosecution relates to a
                                     Q DEFENSE
                                                          }                                             If answer to (6) is "Yes", show name of institution


                                                                                                                                      If-Yes"
  |~| pending case involving this same                                                             Has detainer CH
       defendant                                                 MAGISTRATE
                                                                  CASE NO.
                                                                                                   been fi led?
                                                                                                                  □ No           }    give date
                                                                                                                                      fi led

       prior proceedings or appearance(s)                                                          DATE OF                     Month/DayYear
  n before U.S. Magistrate regarding this
       defendant were recorded under                      }                                        ARREST

                                                                                                   Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                          DATE TRANSFERRED                            Month/DayYear
Furnishing information on this form                  David L.Anderson                              TO U.S. CUSTODY               I
                               0 U.S. Attorney □ Other U.S. Agency
Name of Assistant U.S.                                                                             r~l This report amends AO 257 previously submitted
Attorney (if assigned)                       Shiao Lee and Frank Riebli

                                                         ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:

        □ SUMMONS [g NO PROCESS* □ WARRANT                                           Bail Amount:

        If Summons, complete following:
        n Arraignment Q Initial Appearance                                           * Where defendant previously apprehended on complaint, no new summons or
                                                                                     warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                     Date/Time:                                  Before Judge:

        Comments;
                         Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 13 of 36
  Ap 257 ^Rev,'6/78)

       DEFENDANT INFORMATION RELATIVE TO A CRIIVIINAL ACTION - IM U.S. DIRTRinT nni ipt
  BY: n COMPLAINT CH INFORMATION [E] INDICTMENT
                                                                                                Name of District Court, and/or Judge/Magistrate Location
              OFFENSE CHARGED                            ^ SUPERSEDING                            NORTHERN DISTRICT OF CALIFORNIA
   Count 2: 21 U.S.C. sec.846,841(a)(1),(b)(1)(B>                I I Petty                                       OAKLAND DiVISlbN
   Count17: 21 U.S.C. sec. 841(a)(1),(b)(1)(C)
                                                                 I I Minor                DEFENDANT - U.S
                                                                        Misde
                                                                 □                    ^ Deantae Kennedy-Palmer
                                                                        meanor



                                                                 0 Felony
                                                                                                                                     m 18 2019 ^
  PENALTY:                                                                                 DISTRICT COURT NUMBER                      SUSAN Y. SOONG
                See Attached
                                                                                            CR 19-043 YGR                   NORTH DISTRICT Of'cAUFO^
                                                                                                                                     OAKLAND OFFICE


                                                                                                                      DEFENDANT
                               PROCEEDING                                                     IS WOTIN CUSTODY
    Name of Complaintant Agency, or Person (& Title, if any)                              bias not been arrested, pending outcome this proceeding.
                                                                                     ^)LJ If not detained give date any prior
                                        ATF                                                    summons was served on above charges ^
   j—j person is awaiting trial in another Federal or State Court,                   2) Q Is a Fugitive
   I—' give name of court
                                                                                     3)        Is on Bail or Release from (show District)
   I—I this person/proceeding is transferred from another district                                           Northern District of California
   L—1 per{circleone)FRCrp20, 21,or40. Show District
                                                                                             IS IN CUSTODY
                                                                                    4) Q On this charge
        this is a reprosecution of
   |—I charges previously dismissed                                                 5)         On another conviction            T
   L-' which were dismissed on motion
        of:
                                                              SHOW
                                                            DOCKET NO.
                                                                                                                                ^ Q Federal                State
                                                                                    6) Q Awaiting trial on other charges
        □ U.S. ATTORNEY            Q DEFENSE

       this prosecution relates to a
                                                       }                                       if answer to (6) Is "Yes", show name of Institution

   [] pending case involving this same                                                    Has detainer C]                     If "Yes"
       defendant                                            MAGISTRATE
                                                             CASE NO.
                                                                                          been filed? ^                 }    give date
                                                                                                                             filed
       prior proceedings or appearance(s)                                                 DATE OF        4            Month/DayA'ear
  r~| before U.S. Magistrate regarding this
       defendant were recorded under                   }                                  ARREST         ^
                                                                                          Or... if Arresting Agency & Warrant were not
Name and Office of Person
                                                                                          DATE TRANSFERRED              4            Month/DayA'ear
Furnishing Information on this form                 David L. Anderson                    TO U.S. CUSTODY                ^
                                I U.S. Attorney Q Other U.S. Agency
Name of Assistant U.S.
Attorney (if assigned)
                                                                                         I I This report amends AO 257 previously submitted
                                           Shiao Lee and Frank Rlebii

                                                      ADDITIONAL I NFORMATION OR COMMENTS
  PROCESS:
       □ SUMMONS                  NO PROCESS* Q WARRANT                     Bali Amount;
       If Summons, complete following:
       □ Arraignment □ initial Appearance                                  * mere defendant previously apprehended on complaint, no new summons or
                                                                           warrant needed, since Magistrate has scheduled arraignment
       Defendant Address:

                                                                            Date/Time;                                  Before Judge:

       Comments:
     £          Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 14 of 36
<■




                           PENALTY SHEET - DEANTAE KENNEDY PALMER

         Count Two:    21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A) and (b)(1)(B) - Conspiracy to
                       manufacture, distribute, or possess with intent to distribute controlled substances,
                       to wit 280 grams or more of cocaine base and 500 grams or more of cocaine
                       powder
                       Maximum Penalties: minimum 10 years prison, maximum life imprisonment;
                       5 years to life of supervised release; $10 million fine; $100 special assessment;
                       forfeiture; denial of federal benefits.

         Count Seventeen: 21 U.S.C. § 841(a)(1)-Distribution and Possession with
                      Intent to Distribute Cocaine or Cocaine Base
                      Maximum Penalties: 20 years imprisonment; 3 years to life of supervised release;
                      $1 million fine; $100 special assessment; forfeiture; denial of federal benefits.
                        Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 15 of 36
AO 267(Rev. 6/78)


       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

BY: □ COMPLAINT                □ INFORMATION              0 INDICTMENT                            Name of District Court, and/or Judge/Magistrate Location

                                                          [HI SUPERSEDING                           NORTHERN DISTRICT OF CALIFORNIA
             OFFENSE CHARGED
                                                                                                                   OAKLAND DIVISION
 Count!: 18 U.S.C. sec. 371                                        [ I Petty
 Count 6: 18 U.S.C. sec. 922(a)(1)(A)
                                                                   I I Minor          (— DEFENDANT - U.S

                                                                       Misde
                                                                   □   meanor            ^ Darrell Murphy Jr.
                                                                       Felony
                                                                                              DISTRICT COURT NUMBER                     JUL 18 2019
PENALTY:       Both Counts:
               Maximum 5 years prison                                                         CR 19-043 YGR                     CLERK
               $250,000 fine
               3 years supervised release
               $ 100 special assessment per count; forfeiture
                                                                                                                        DEFENDANT

                               PROCEEDING                                                       IS WOriN CUSTODY
                                                                                                  Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, If any)                               "1)0 If not detained give date any prior                 .
                                                                                                  summons was served on above charges ^
                                        ATF

       person is awaiting trial in another Federal or State Court,                       2) Q Is a Fugitive
  □ give name of court
                                                                                         3)       Is on Bail or Release from (show District)

                                                                                                                Northern District of California
       this person/proceeding is transferred from another district
  □    per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                IS IN CUSTODY

                                                                                        4)        On this charge
       this Is a reprosecution of
       charges previously dismissed                                                      5) I I On another conviction               1
  □    which were dismissed on motion                             SHOW
                                                                                                                                    I      c]          n
       of:                                                      DOCKET NO.
                                                                                        6)        Awaiting trial on other charges
        Q U.S. ATTORNEY             Q DEFENSE
                                                         }                                         If answer to (6) is 'Yes", show name of institution

       this prosecution relates to a
                                                                                                                                  If "Yes"
  I I pending case involving this same                                                        Has detainer IHI
       defendant                                                MAGISTRATE
                                                                 CASE NO.
                                                                                              been filed?
                                                                                                             □ No           )    give date
                                                                                                                                 filed

                                                                                                                          Month/Day/Year
       prior proceedings or appearance(s)                                                     DATE OF
                                                                                                            I
  r~| before U.S. Magistrate regarding this
       defendant were recorded under                     }                                    ARREST

                                                                                              Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                     DATE TRANSFERRED                           Month/DayA'ear
Furnishing Information on this form                 David L. Anderson                         TO U.S. CUSTODY               I
                                  U.S. Attorney □ Other U.S. Agency
Name of Assistant U.S.                                                                        [~~| This report amends AO 257 previously submitted
Attorney (if assigned)                      Shiao Lee and Frank Riebli

                                                        ADDITIONAL INFORIVIATION OR COMMENTS
  PROCESS:

        □ SUMMONS                   NO PROCESS" □ WARRANT                       Bail Amount:

       If Summons, complete following:
        I I Arraignment Q Initial Appearance                                    * Where defendant previously apprehended on complaint, no new summons or
                                                                                warrant needed, since Magistrate has scheduled arraignment
       Defendant Address:

                                                                                Date/Time:                                   Before Judge:

        Comments:
                        Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 16 of 36
AO 257(K^v. 6/78)

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY: □ COMPLAINT                □ INFORMATION            E INDICTMENT                           Name of District Court, and/or Judge/Magistrate Location
                                                        [El SUPERSEDING                          NORTHERN DISTRICT OF CALIFORNIA
           OFFENSE CHARGED
                                                                                                               OAKLAND DIVISION
 Counti: 18 U.S.C. sec. 371                                      I I Petty
 Count2: 21 U.S.C sec.846,841(a)(1) and (b)(1)(B)
 Counts: 18 U.S.C sec. 922(a)(1)(A)                              I I Minor          f- DEFENDANT-U.S
 Count 23: 21 U.S.C. sec. 841(a)(1) and (b)(1)(B)

                                                                 □
                                                                     Misde
                                                                     meanor           ^ Sterling Walker
                                                                                                                                filed
                                                                     Felony
                                                                                           DISTRICT COURT NUMBER
                                                                                                                               JUL18 2019
PENALTY:
               See Attached                                                                CR 19-043 YGR



                                                                                                                      DEFENDANT

                               PROCEEDING                                                    IS NOTIN CUSTODY
                                                                                               Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, If any)                                     If not detained give date any prior     .
                                                                                               summons was served on above charges ^
                                        ATF

       person is awaiting trial in another Federal or State Court,                    2)n is a Fugitive
  □ give name of court
                                                                                      3) 1^ is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
  □ per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                             IS IN CUSTODY

                                                                                      4)    (\ On this charge
       this is a reprosecution of
       charges previously dismissed                                                   5) rn On another conviction               "1
  □    which were dismissed on motion
                                                                SHOW                                                             ?     Q Federal          State
                                                             DOCKET NO.
       of:
                                                                                      6) Q Awaiting trial on other charges
        □ U.S. ATTORNEY             □ DEFENSE
                                                       }                                        If answer to (6) is 'Yes", show name of institution

       this prosecution relates to a                                                                                          If "Yes"
  |~1 pending case involving this same                                                     Has detainer EH
       defendant                                             MAGISTRATE
                                                              CASE NO.
                                                                                           been filed?        |,,jq      }    give date
                                                                                                                              filed

                                                                                           DATE OF       I             Month/DayYear

                                                       }
       prior proceedings or appearance(s)
  [~| before U.S. Magistrate regarding this                                                ARREST        ^                   1/10/19

       defendant were recorded under                                                       Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                  DATE TRANSFERRED                           Month/DayYear
Furnishing Information on this form                 David L.Anderson                       TO U.S. CUSTODY               I
                                   U.S. Attorney □ Other U.S. Agency
Name of Assistant U.S.                                                                     |~~| This report amends AO 257 previously submitted
Attorney (if assigned)                        Shiao Lee and Frank Riebii

                                                       ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:

        □ SUMMONS                   NO PROCESS* □ WARRANT                     Bail Amount:

        If Summons, complete following:
        Q Arraignment Q Initial Appearance                                    * Where de^ndant previously apprehended on complaint, no new summons or
                                                                              wan^nt needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                              Date/Time;                                  Before Judge:

        Comments:
       Case 4:19-cr-00043-YGR
                     ir\      Document 131 Filed 07/18/19
                                                   ^      Page 17 of 36




                        PENALTY SHEET - STERLING WALKER


Count One: 18 U.S.C. § 371 - Conspiracy to Commit Offenses Against the United States
             Maximum Penalties: 5 years imprisonment; 3 years of supervised release;
             $250,000 fine; $100 special assessment; forfeiture.

Count Two: 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B)- Conspiracy to manufacture, distribute,
or possess with intent to distribute controlled substances, to wit 28 grams or more of cocaine
base and 500 grams or more of cocaine powder
              Maximum Penalties: minimum 5 years prison, maximum 40 years imprisonment;
               4 years to life of supervised release; $5 million fine; $100 special assessment;
               forfeiture; denial offederal benefits.

Count Five: 18 U.S.C. § 922(a)(1)(A)- Unlawfully engaging in the business of dealing in
firearms without a license
               Maximum Penalties: 5 years imprisonment; 3 years of supervised release;
               $250,000 fine; $100 special assessment; forfeiture.

Count Twenty-Three: 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B)- Conspiracy to manufacture,
distribute, or possess with intent to distribute controlled substances, to wit 28 grams or more of
cocaine base
               Maximum Penalties: minimum 5 years prison, maximum 40 years imprisonment;
               4 years to life of supervised release; $5 million fine; $100 special assessment;
               forfeiture; denial of federal benefits.
                         Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 18 of 36
    AO 257(Rev. 6/78)


                                                                                                        action - IN U.S. DIST^inTr?^
    BY. n COMPLAINT ED INFORMATION lEj INDICTMENT
                                                                                                 Name of District Court, and/or Judge/Magistrate Location
              •OFFENSE CHARGED                                  SUPERSEDING                        NORTHERN DISTRICT OF CALIFORNIA
    Count): 18U.S.C.sec.371                                                                                       OAKLAND DIVISION
    Count4: 18 U.S.C. sec. 922(a)(1)(A)
                                                                    □ Petty
                                                                   I 1 Minor         p DEFENDANT. U.S
                                                                   □ Misde
                                                                         meanor
                                                                                          ^ DeshawnLemons-Woodard
                                                                   0 Felony                                                            JUL 18 2019
   PENALTY;      Both Counts:                                                                 DISTRICT COURT NUMBER                      ,o,,, „ „
                 Maximum 5 years in prison
                $250,000 fine
                Maximum 3 years supervised release
                $100 special assessment per count;forfeiture

                                                                                                                       DEFENDANT
                                PROCEEDING                                                     IS Norm CUSTODY
     Name of Complaintant Agency, or Person {& Title, if any)                            M \ p-|               arrested, pending outcome this proceeding
                                                                                          U |_| If not detained give date any prior
                                          ATF                                                   summons was served on above charges
    |—I person is awaiting trial in another Federal or State Court
         give name of court
                                                                                         2) Q] Is a Fugitive

                                                                                         3)     Is on Bail or Release from (show District)
    PI this person/proceeding is transferred from another district                                           Northern District of California
        per(circleone)FRCrp20,21,or40. Show District
                                                                                              IS IN CUSTODY
                                                                                     4) Q On this charge
        this is a reprosecution of
   I—I charges previously dismissed
   ^ which were dismissed on motion                               SHOW
                                                                                     5) Q On another conviction                 l
        of;                                                    DOCKET NO.                                                       J □ Federal Q state
                                                                                     6) □ Awaiting trial on other charges
        E] U.S. ATTORNEY

       this prosecution relates to a
                                          DEFENSE
                                                      }                                   If answer to (6) Is 'Yes", show name of institution

   ED pending case involving this same                                                    Has detainer ED                     If 'Yes"
       defendant

       prior proceedings or appearance(s)
                                                               MAGISTRATE
                                                                CASE NO.
                                                                                          been filed?
                                                                                                                        }    give date
                                                                                                                             filed
                                                                                          DATE OF        4
   Q before U.S. Magistrate regarding this
       defendant were recorded under                 }                                    ARREST         ^
                                                                                                                      Month/DayA^ear

                                                                                          Or... if Arresting Agency & Warrant were not
Name and Office of Person
Furnishing Information on this form                                                       ^ATE TRANSFERRED              4            Month/Day/Year
                                                 David L. Anderson                        TO U.S. CUSTODY               ^
                                I U.S. Attorney □ Other U.S. Agency
Name of Assistant U.S.
Attorney (if assigned)                     Shiao Lee and Frank Riebli                     ED This report amends AO 257 previously submitted

  PROCESS:
                                                — ADDITIONAL INFORMATION OR COMMENTS
      □ SUMMONS [x] NO PROCESS* □ WARRANT                                   Bail Amount:
      if Summons, complete following;
      Q Arraignment Q Initial Appearance
                                                                                                                     0" complaint,
                                                                           warrant needed, since Magistrate has scheduled          PC new summona or
                                                                                                                          arraignment
      Defendant Address:

                                                                            Date/Time:                                 Before Judge:
      Comments:
                        Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 19 of 36
 AO 257(Rev. 6/78)


        DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
 BY: □ COMPLAINT □ INFORMATION 0 INDICTMENT                                                       Name of District Court, and/or Judge/Magistrate Location

             OFFENSE CHARGED
                                                          13 SUPERSEDING                            NORTHERN DISTRICT OF CALIFORNIA

                                                                                                                   OAKLAND DIVISION
  Count 7: 18 U.S.C sec. 922(o)                                     □ Petty
  Counts: 18 U.S.C. sec. 922(g)(1)
                                                                    I I Minor          r- DEFENDANT-U.S

                                                                    □
                                                                        Misde
                                                                        meanor            ^ Vernell Thrower                             FfLED
                                                                        Felony
 PENALTY:      Both Counts:
                                                                                             DISTRICT COURT NUMBER                   JUL 18 2019
               Maximum 10 years prison                                                        CRT 9-043 YGR
               $250,000 fi ne
               3 years supervised release
               $ 100 special assessment per count; forfeiture
                                                                                                                        DEFENDANT

                              PROCEEDING                                                        IS WOT IN CUSTODY
   Name of Complaintant Agency, or Person (& Title, if any)                                       Has not been arrested, pending outcome this proceeding,
                                                                                         t) □ If not detained give date any prior                .
                                       ATF
                                                                                                  summons was served on above charges ^
       person is awaiting trial in another Federal or State Court,                       2) □ Is a Fugitive
   □   give name of court

                                                                                         3) □ Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
   □   per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                               IS IN CUSTODY

                                                                                         4) □ On this charge
       this is a reprosecution of
       charges previously dismissed                                                      5) □ On another conviction
  □    which were dismissed on motion                              SHOW
                                                                                                                                   S □ Federal □ State
       of:                                                       DOCKET NO.
                                                                                         6) □ Awaiting trial on other charges
        □ U.S. ATTORNEY              □DEFENSE
                                                        }                                         If answer to (6) is "Yes", show name of institution

       this prosecution relates to a
  □ pending case involving this same                                                                                            If "Yes"
                                                                                             Has detainer IHI
       defendant                                                MAGISTRATE
                                                                 CASE NO.
                                                                                             been filed?
                                                                                                            □ No           }    give date
                                                                                                                                filed

                                                                                             DATE OF                     Month/Day/Year
       prior proceedings or appearance(s)
                                                                                                            I
  □ before U.S. Magistrate regarding this
       defendant were recorded under                    }                                    ARREST

                                                                                             Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                    DATE TRANSFERRED                           Month/DayA^ear
Furnishing Information on this form                 David L.Anderson                         TO U.S. CUSTODY               I
                              [3 U.S. Attorney □ Other U.S. Agency
Name of Assistant U.S.                                                                       □ This report amends AO 257 previously submitted
Attorney (if assigned)                      Shiao Lee and Frank Riebli

                                                       ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:

       □ SUMMONS □ NO PROCESS*                                  WARRANT          Bail Amount: No Ball
       If Summons, complete following:
       □ Arraignment □ Initial Appearance                                       * VWiere defendant previously apprehended on complaint, no new summons or
                                                                                warrant needed, since Magistrate has scheduled arraignment
       Defendant Address:

                                                                                Date/Time:                                 Before Judge:

       Comments;
                         Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 20 of 36
AO 257(Rev. 6/73)


       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY: □ COMPLAINT                □ INFORMATION              [El INDICTMENT                               Name of District Court, and/or Judge/Magistrate Location

                                                          S SUPERSEDING                                  NORTHERN DISTRICT OF CALIFORNIA
          -OFFENSE CHARGED
                                                                                                                       OAKLAND DIVISION
 Count 2: 21 U.S.C sec. 846,841(a)(1), (b)(1)(B)                      Q Petty
                                                                      I I Minor                DEFENDANT-U.S

                                                                            Misde
                                                                      □     meanor           ^ Joe Frank
                                                                            Felony
                                                                                                DISTRICT COURT NUMBER                          JUL 18 2019
PENALTY;       Minimum 5 years prison
               Maximum 40 years prison                                                            CR 19-043 YGR                                SUSAN Y, SOONG
               $5 mil lion fine                                                                                                      .CLERK. U.S. DISTRICT COURT
               4 years to iife supervised reiease
                                                                                                                                     NORTH district OF CALIFORNIA
                                                                                                                                               OAKLAND OFHCE
               $100 special assessment, forfeiture, denial of federal benefits
                                                                                                                             DEFENDANT

                               PROCEEDING                                                            IS A/OT IN CUSTODY
                                                                                                  Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                   1) Q If not detained give date any prior     ^
                                                                                                  summons was served on above charges ^
                                        ATF

       person is awaiting trial in another Federal or State Court,                           2) Q Is a Fugitive
  □    give name of court
                                                                                             3) Q Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
  □ per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                     IS IN CUSTODY

                                                                                             4) Q On this charge
       this is a reprosecution of
       charges previously dismissed                                                          5) I     I On another conviction            1
  □    which were dismissed on motion
                                                                     SHOW
                                                                                                                                          I     HH '^®'^®''al Q State
                                                                 DOCKET NO.
        of:
                                                                                             6) Q Awaiting trial on other charges
        Q U.S. ATTORNEY              Q DEFENSE
                                                          }                                             If answer to (6) is "Yes", show name of institution

       this prosecution relates to a                                                                                                   If "Yes"
   [ I pending case involving this same                                                           Has detainer CH
       defendant                                                MAGISTRATE
                                                                   CASE NO.
                                                                                                  been filed? □ No              }      give date
                                                                                                                                       filed

                                                                                                  DATE OF                     Month/Day/Year

                                                         }
       prior proceedings or appearance(s)
                                                                                                  ARREST
   Q before U.S. Magistrate regarding this
       defendant were recorded under                                                              Or... If Arresting Agency & Warrant were not

                                                                                                  DATE TRANSFERRED                             Month/Day/Year
Name and Office of Person
Furnishing Information on this form                  David L. Anderson                            TO U.S. CUSTODY                I
                                  I U.S. Attorney □ Other U.S. Agency

Name of Assistant U.S.                                                                              I I This report amends AO 257 previously submitted
Attorney (if assigned)                        Shiao Lee and Frank Riebli

                                                         ADDITIONAL INFORMATION OR COMMENTS
   PROCESS:

        □ SUMMONS □ NO PROCESS*                                WARRANT               Bail Amount: No Bail

        If Summons, complete following:
        □ Arraignment | [ Initial Appearance                                         " Where defendant previously apprehended on complaint, no new summons or
                                                                                     warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                     Date/Time:                                   Before Judge:

         Comments;
     Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 21 of 36
J"




                                                     Jtstrtti Court
                                               FOR THE
                         NORTHERN DISTRICT OF CALIFORNIA


                                   VENUE; Oakland



                               UNITED STATES OF AMERICA,                             NO.OR 19-00043 YGR

                                                   V.
                                            DANIEL JAMES,
                                          GEORGE MOORE,JR.,
                                          TERRY WALKER SR.,
                                             DALE DAVIS,
                                            PAUL RIVERA,
                                                                                                FILED
                                         DARRYL WASHINGTON,
                                    CAMERON MOORE-WILLIAMS,                                     JUL 18 2019
                                    DEANTAE KENNEDY-PALMER,
                                      DARRELL MURPHY JR.,                                       SUSAN Y. 800NG
                                        STERLING WALKER,                                  CLERK, U.S. DISTRICT COURT
                                   DESHAWN LEMONS-WOODARD,                              NORTH DISTRICT OF CALIFORNIA
                                                                                                OAKLAND OFFICE
                                      VERNELL THROWER,and
                                              JOE FRANK


                                            DEFENDANT.



           SUPERSEDING INDICTMENT

         18 U.S.C. § 371 - Conspiracy to Commit Offenses Against the United States; 18 U.S.C. § 922(a)
        (I)(A)-Dealing Firearms Without a License; 18 U.S.C. § 922(g)(1)- Felon in Possession of a
        Firearm; 18 U.S.C. § 922(o)- Possession of a Machine Gun; 18 U.S.C. § 922(k)- Possession of
        a Firearm with an Obliterated Serial Number; 21 U.S.C. § 846- Conspiracy to Distribute and
        Possess with Intent to Distribute Cocaine and Cocaine Base; 21 U.S.C. § 841(a)- Distribution
        and Possession with Intent to Distribute Cocaine and Cocaine Base; and 18 U.S.C. § 924(d),21
        U.S.C. § 853(a), and 28 U.S.C. § 2461(c)- Criminal Forfeiture




                          A true bill.




                                                                     Foreman



                             Filed In open court this             day of



                                                                           Clerk




                                                             0 bail WARRANT

                                                                                                Document No.


                                                                                                       strict Court
                                                                                                     District Court    ^
                                                                                                Crimiria! Case Processing
             Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 22 of 36




 1   DAVID L. ANDERSON(CABN 149604)
     United States Attorney
2


3

4                                                                                    FILED
5                                                                                    JUL18 2019 ^
                                                                                     SUSAN Y. SOONG
6
                                                                                CLERK, U.S. DISTRICT COURT
                                                                               NORTH DISTRICT OF CALIFORNIA
7                                                                                    OAKLAND OFFICE


8                                    UNITED STATES DISTRICT COURT

9                                  NORTHERN DISTRICT OF CALIFORNIA

10                                           OAKLAND DIVISION

11   UNITED STATES OF AMERICA,                          Case No. CR 19-00043 YGR

12           Plaintiff,
                                                        VIOLATIONS:
13      V.
                                                        18 U.S.C. § 371 - Conspiracy to Commit Offenses
14   DANIEL JAMES,                                      Against the United States; 18 U.S.C. § 922(a)(1)(A)-
     GEORGE MOORE,JR.,                                  Dealing Firearms Without a License; 18 U.S.C. §
15   TERRY WALKER SR.,                                  922(g)(1)- Felon in Possession of a Firearm;
     DALE DAVIS,                                        18 U.S.C. § 922(o)- Possession of a Machine Gun;
16   PAUL RIVERA,                                       18 U.S.C. § 922(k)-Possession of a Firearm with an
     DARRYL WASHINGTON,                                 Obliterated Serial Number; 21 U.S.C. § 846 -
17   CAMERON MOORE-WILLIAMS,                            Conspiracy to Distribute and Possess with Intent to
     DEANTAE KENNEDY-PALMER,                            Distribute Cocaine and Cocaine Base; 21 U.S.C. §
18   DARRELL MURPHY JR.,                                841(a)- Distribution and Possession with Intent to
     STERLING WALKER,                                   Distribute Cocaine and Cocaine Base; and 18 U.S.C.
19   DESHAWN LEMONS-WOODARD,                            § 924(d), 21 U.S.C. § 853(a), and 28 U.S.C. § 2461(c)
     VERNELL THROWER,and                                - Criminal Forfeitme
20   JOE FRANK

21           Defendants.                                                 OAKLAND VENUE

22

23                                SUPERSEDING              INDICTMENT

24   The Grand Jury charges:

25   COUNT ONE:' (18 U.S.C. § 371 - Conspiracy to Commit an Offense Against the United States)
26           1.      Beginning on a date unknown to the Grand Jury but since at least June 6, 2017, and
27   continuing up through and including January 10, 2019, in the Northern District of California, the
     defendants.                                                                     Document No.
28
                                                                                             131 a.
     SUPERSEDING INDICTMENT                                                             District Court     /1
     CR 19-00043 YGR                                                                Criminal Case Processing o
             Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 23 of 36




 1                                                DANIEL JAMES, ^
                                                STERLING WALKER,
2                                           DARRELL MURPHY JR. and
                                        DESHAWN LEMONS-WOODARD,
3

4    knowingly and willfully conspired and agreed with each other and with others, known and unknown to
5    the Grand Jury, to commit offenses against the United States, namely, to willfully engage in the business
6    of dealing in firearms without a license in violation of Title 18, United States Code, Section
7    922(a)(1)(A).

8           2.        The object of this conspiracy was to sell firearms to individuals. The means and methods
9    by which the defendants and other members and associates ofthe conspiracy participated in the
10   conspiracy included, but were not limited to, the following: DANIEL JAMES controlled the firearm
11   sales that took place on Makin Road in Oakland, California; DANIEL JAMES and his co-conspirators
12   collected firearms from other persons; and DANIEL JAMES either sold the firearms he and his co-
13   conspirators collected, or he facilitated, directed, or allowed his co-conspirators working on Makin Road
14   to sell the firearms.

15                                                  OVERT ACTS


16           3.       In furtherance of the conspiracy and to effectuate the objects of the conspiracy, the co-
17   conspirators sold the following firearms in the Northern District of California, on or about the dates
18   listed below, and each of these sales was an overt act in furtherance of the conspiracy:

19

20           Date                                 Firearm Sold                                    Seller

21          6/6/17      TKS Engineering AR15HD .223 cal. rifle, serial no. 0910010               JAMES,
                                                                                                LEMONS-
                                                                                                WOODARD
22
           6/13/17      Glock 23 40 cal. pistol with obliterated serial number                  LEMONS-
23                                                                                              WOODARD

24         7/18/17      Glock 19 9mm pistol, serial no. TC928                                   LEMONS-
                                                                                                WOODARD
25
           7/18/17      Beretta 84FS Cheetah .380 cal. pistol, serial no. H07025Y               LEMONS-
                                                                                                WOODARD
26
           9/13/17      Smith & Wesson SD .40 cal. pistol, serial no. HFJ0152                    JAMES
27
           9/18/17      Springfield Annory XD .40 caliber pistol, serial no. US4275              JAMES

28         10/11/17      AR-15 style pistol, no manufacturer marks or serial number              JAMES


     SUPERSEDING INDICTMENT
     CR 19-00043 YGR
           Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 24 of 36




1                     Beretta 96 .40 cal. pistol, serial no. BER080602                     JAMES
         10/24/17
                      AR-15 style pistol, no manufacturer marks or serial number           JAMES
2        10/24/17

                      Fully automatic Glock 22 40 cal. pistol, serial no. PZL229           JAMES
         11/21/17
3
                      AR-15 style pistol, no manufacturer marks or serial number           JAMES,
         11/21/17
                                                                                         STERLING
4
                      Springfield Armory XD .45 caliber pistol, serial no. XD639243        JAMES
         1/31/18
5
                      Springfield Armory XD .40 cal. pistol, serial no. XD565385          MURPHY
          3/8/18
6                                                                                          JAMES
          6/5/18      Springfield Armory XD .45 cal. pistol, serial no. XD667617
7         6/5/18      AR-15 style pistol, no manufacturer marks or serial number           JAMES,
                                                                                         STERLING
8                                                                                         MURPHY
         6/18/18      Kahr Arms P40 .40 cal. pistol, with an obliterated serial number
9        6/18/18      Smith & Wesson 9mm pistol, serial no. FWS8802                         JAMES

          7/12/18     Heckler & KochUSP40 .40 cal. pistol, serial no. 22-27117;             JAMES
10
                      Beretta 92FS 9mm pistol, serial no. E38985Z                           JAMES
          7/12/18
11                                                                                          JAMES
          7/12/18     Smith & Wesson SD40 VE .40 cal. pistol, serial no. HFW2363
12                    Taurus PT99AF 9mm pistol, serial no. TYK51102                         JAMES
          7/12/18

          7/31/18     Anderson Mfg AM-15 5.56mm cal. pistol, obliterated serial no.         JAMES
13
                      Anderson Mfg AM-15 5.56mm cal. pistol, obliterated serial no.         JAMES
          7/31/18
14
          8/23/18     Springfield Armory XD40 sub-compact .40 cal. pistol, serial no.      MURPHY

15                    US450601

                      Springfield Armory XD40 .40 cal. pistol, serial no. US387906         MURPHY
          8/23/18
16
                      Smith & Wesson M&P .38 cal. pistol, serial no. 9076                  MURPHY
          8/23/18
17                                                                                         MURPHY
          8/23/18     Unknovm mfr, serial no. unknown
18        10/9/18     Glock 30 .45 cal. pistol, serial no. CMT960US                         JAMES

          10/9/18     Glock-type .40 cal. sub-compact pistol, equipped with Glock 27        JAMES
19
                      slide assembly, serial no. FFF989
20        10/9/18     Bryco Arms Jennings Nine 9mm pistol, serial no. 1563705               JAMES

                      Unknown manufacturer, AK-Type short barreled rifle                    JAMES
21       11/25/18

          11/25/18    Kimber 1911 Ultra Carry 11.45 cal. pistol, serial no. KU234373        JAMES
22


23          Additional overt acts, among others, were committed in the Northern District of California:
24                   a)    On or about June 6,2017, DESHAWN LEMONS-WOODARD arranged the sale
25   of a rifle and ammunition for DANIEL JAMES. DANIEL JAMES then sold the rifle and ammunition.
26   DESHAWN LEMONS-WOODARD sold additional firearms in furtherance of the conspiracy on or
27   about June 13 and July 18, 2017;

28                   b)     On or about July 24, 2017, LEMONS-WOODARD sent a text message to an
     SUPERSEDING INDICTMENT                          3
     CR 19-00043 YGR
             Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 25 of 36




 1   individual photographs containing multiple firearms for sale;

 2                     c)     On or about October 31, 2017, LEMONS-WOODARO sent a text message to an

 3   individual stating he could sell two firearms for $1,000;

 4                     d)     On or about October 31, 2017,LEMONS-WOODWARD sent a text message

 5   containing two photos of the firearms for sale to another individual;

 6                     e)     On or about November 21, 2017, STERLING WALKER delivered to DANIEL

 7   JAMES on Makin Road an AR-15 style pistol that DANIEL JAMES then sold, along with a fully

 8   automatic .40 caliber Clock 22 pistol, to another person;

 9                     f)     On or about March 8, 2018, DANIEL JAMES told another person to speak to his

10   "nef on Makin Road in order to purchase a firearm. The person then approached PAUL RIVERA and

11   DARRELL MURPHY JR. on Makin Road, and DARRELL MURPHY JR. sold that person a firearm;

12                     g)     On or about June 5, 2018, DANIEL JAMES arranged to sell multiple firearms to

13   another person, including an AR-15 style pistol. STERLING WALKER brought that firearm to Makin

14   Road and sold it to another person. During the same transaction, DANIEL JAMES sold the person a .45

15   caliber pistol;

16                     h)     On or about August 23, 2018, DARRELL MURPHY JR. facilitated the sale of

17   four firearms to another person. DANIEL JAMES approved the transaction over the telephone with the

18   other person and said it was safe to purchase guns through DARRELL MURPHY JR.;

19                     i)     On November 15, 2018, DARRELL MURPHY JR. told DANIEL JAMES over

20   the telephone that he knew someone that had a "Tec" firearm for sale and asked DANIEL JAMES how

21   much it was worth. DANIEL JAMES replied "five, six hundred";

22                     j)     On November 26, 2018, DANIEL JAMES told STERLING WALKER over the

23   telephone to let him know if he came across any firearms.

24           All in violation of Title 18, United States Code, Section 371.

25

26   COUNT TWO:              (21 U.S.C. § 846 - Conspiracy to Possess with Intent to Distribute and to
                             Distribute Cocaine and Cocaine Base)
27

28          4.         Beginning on a date unknown to the Grand Jury but since at least October 11, 2017, and

     SUPERSEDING INDICTMENT                            4
     CR 19-00043 YGR
             Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 26 of 36
                                                                           rv



      continuing up through and including January 10, 2019,in the Northern District of California, the
      defendants,

                                              DANIEL JAMES,-
                                            GEORGE MOORE JR., -
                                            TERRY WALKER SR.,.
                                               DALE DAVIS,.
                                              PAUL RIVERA, -
                                           DARRYL WASHINGTON,
                                        CAMERON MOORE-WILLIAMS, '
                                            STERLING WALKER, ^
                                       DEANTAE KENNEDY-PALMER,"and
                                                     JOE FRANK ^


 9   and others known and unknown to the Grand Jury, knowingly and intentionally conspired to
10    manufacture, distribute, and possess with intent to distribute a mixture and substance containing cocaine
11   base, and conspired to distribute and possess with intent to distribute a mixture and substance containing
12   a detectable amount of cocaine, its salts, optical and geometric isomers, and salts of isomers, in violation
13   of Title 21, United States Code, Sections 846 and 841(a)(1).
14                       Quantity of Cocaine and Cocaine Base Involved in the Conspiracy
15           5.      With respect to DANIEL JAMES, GEORGE MOORE JR., TERRY WALKER SR.,
16   DALE DAVIS,PAUL RIVERA,and DARRYL WASHINGTON,their conduct as members ofthe
17   conspiracy charged in Count Two, which includes the reasonably foreseeable conduct of other members
18   of the conspiracy charged in Count Two,involved 280 grams or more ofa mixture and substance
19   containing cocaine base, in violation of21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A), and 500 grams or
20   more of a mixture and substance containing a detectable amount of cocaine, its sales, optical and
21   geometric isomers, and salts of its isomers, in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B).
22          6.      With respect to CAMERON MOORE-WILLIAMS,STERLING WALKER,DEANTAE
23   KENNEDY-PALMER, and JOE FRANK,their conduct as members of the conspiracy charged in Count
24   Two, which includes the reasonably foreseeable conduct of other members ofthe conspiracy charged in
25   Count Two,involved 28 grams or more of a mixture and substance containing cocaine base, in violation
26   of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B), and 500 grams or more of a mixture and substance
27   containing a detectable amount of cocaine, its sales, optical and geometric isomers, and salts of its
28   isomers, in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B).

     SUPERSEDING INDICTMENT                           5
     CR 19-00043 YGR
1
                       Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 27 of 36




               COUNT THREE:           (18 U.S.C. § 922(a)(1)(A)-Dealing Firearms Without a License)
                       7.     Beginning on or about June 6,2017 and continuing through January 10,2019, in the
         i     Northern District of California, the defendant,
         L.
                                                           DANIEL JAMES, -
     5         not being a licensed dealer of firearms within the meaning of Chapter 44, Title 18, United States Code,
     6         willhilly engaged in the business of dealing in firearms, in violation of Title 18, United States Code,
     7         Sections 922(a)(1)(A), 923(a), and 924(a)(1)(D).
     8

     9         COUNT FOUR: ^ (18 U.S.C. § 922(a)(1)(A)-Dealing Firearms Without a License)
    10                8.      Beginning on or about June 6, 2017 and continuing through January 10, 2019, in the
    11        Northern District of California, the defendant,
    12                                          DESHAWN LEMONS-WOODARD, ^
    13        not being a licensed dealer offirearms within the meaning of Chapter 44, Title 18, United States Code,
    14        willfully engaged in the business of dealing in fireanns, in violation of Title 18, United States Code,
    15        Sections 922(a)(1)(A), 923(a), and 924(a)(1)(D).
    16

    17        COUNT FIVE: ^ (18 U.S.C. § 922(a)(1)(A)-Dealing Firearms Without a License)
    18               9.      Beginning on or about November 21, 2017 and continuing through January 10, 2019, in
    19        the Northern District of California, the defendant,
    20                                                 STERLING WALKER,
    21        not being a licensed dealer offirearms within the meaning of Chapter 44, Title 18, United States Code,
    22        willfully engaged in the business of dealing in firearms, in violation of Title 18, United States Code,
    23        Sections 922(a)(1)(A), 923(a), and 924(a)(1)(D).
24

25            COUNT SIX:            (18 U.S.C. § 922(a)(1)(A)- Dealing Firearms Without a License)
26                   10.    Beginning on or about March 3, 2018 and continuing tlirough January 10, 2019, in the
27            Northern District of California, the defendant,
28                                                   DARRELL MURPHY JR.,

              SUPERSEDING INDICTMENT                            6
              CR 19-00043 YGR
              Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 28 of 36




      not being a licensed dealer offirearms within the meaning of Chapter 44, Title 18, United States Code,
 2    willthlly engaged in the business of dealing in firearms, in violation of Title 18, United States Code,
 3    Sections 922(a)(1)(A), 923(a), and 924(a)(1)(D).
 4

 5    COUNT SEVEN:          (18 U.S.C. § 922(o)~ Unlawful Possession and Transfer ofa Machine Gun)
 6           11.     On or about November 2, 2017, in the Northern District of California, the defendants,
 7                                         DARRYL WASHINGTON Ind
                                               VERNELL THROWER, -
 8

 9   unlawfully possessed and transferred a machinegun (any weapon which shoots and is designed to shoot
10   automatically more than one shot, without manual reloading, by a single function of the trigger),
11   specifically, a Glock 23 .40 caliber pistol, serial number BAEA916,in violation of Title 18, United
12   States Code, Section 922(o).

13

14   COUNT EIGHT: /(18 U.S.C. § 922(g)(1)- Felon in Possession of a Firearm)
15           12.    On or about November 2, 2017, in the Northern District of California, the defendants,
16                                        DARRYL Washington"and
                                              VERNELL THROWER,-
17

18   knowingly possessed a firearm, namely, one Glock 23 .40 caliber pistol, bearing serial number
19   BAEA916, all in and affecting interstate and foreign commerce, each knowing he had been previously
20   convicted of a crime punishable by a term ofimprisonment exceeding one year, and did so knowingly,
21   all in violation of Title 18, United States Code, Section 922(g)(1).
22

23   COUNT NINE:           (18 U.S.C. § 922(o)- Unlawful Possession and Transfer of a Machine Gun)
24           13.    On or about November 21, 2017, in the Northern District of California, the defendant,
25                                               DANIEL JAMES, ^
26   unlawfully possessed and transferred a machinegun (any weapon which shoots and is designed to shoot
27   automatically more than one shot, without manual reloading, by a single function ofthe trigger),
28   specifically, a Glock 22 .40 caliber pistol, serial number PZL229, in violation of Title 18, United States

     SUPERSEDING INDICTMENT                           7
     CR 19-00043 YGR
             Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 29 of 36
                            ^.



 1   Code, Section 922(o).

 2

 3   COUNT TEN:             (18 U.S.C. § 922(k)-Possession of Firearms with an Obliterated Serial Number)

 4           14.    On or about July 31, 2018,in the Northern District of California, the defendant,

 5                                               DANIEL JAMES,

 6   knowingly possessed two firearms, specifically, two Anderson Manufacturing AM-15 5.56mm cal.

 7   pistols, that had been shipped and transported in interstate commerce,from which the manufacturer's

 8   serial number had been removed, altered, and obliterated, in violation of Title 18, United States Code,

 9   Sections 922(k) and 924(a)(1)(B).

10

11   COUNT ELEVEN:''(IS U.S.C. § 922(g)(1) Felon in Possession of a Firearm)
12           15.    On or about July 31, 2018,in the Northern District of California, the defendant,

13                                                PAUL RIVERA, -

14   knowingly possessed a firearm, namely, one Taurus PT709 Slim 9mm caliber pistol, bearing serial

15   number THW16062, all in and affecting interstate and foreign commerce, knowing he had been

16   previously convicted of a crime punishable by a term of imprisonment exceeding one year, and did so

17   knowingly, all in violation of Title 18, United States Code, Section 922(g)(1).

18

19   COUNT TWELVE:^'(18 U.S.C. § 922(g)(1)- Felon in Possession of a Firearm)
20          16.     On or about October 9, 2018, in the Northern District of California, the defendant,

21                                          DARRYL WASHINGTON,              x

22   knowingly possessed a firearm, namely, one Bryco Arms Jennings 9mm pistol, bearing serial number

23   1563705, all in and affecting interstate and foreign commerce, knowing he had been previously been

24   convicted of a crime punishable by a term of imprisonment exceeding one year, and did so knowingly,

25   all in violation of Title 18, United States Code, Section 922(g)(1).

26

27   COUNT THIRTEEN:''(18 U.S.C. § 922(o)- Possession of a Machine Gun)
28          17.     On or about January 10, 2019, in the Northern District of California, the defendant,

     SUPERSEDING INDICTMENT                           8
     CR 19-00043 YGR
            Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 30 of 36




 1                                               PAUL RIVERA, ^
2    unlawfully possessed and transferred a machinegun (any part designed and intended solely and

3    exclusively for use in converting a weapon into a weapon that shoots and is designed to shoot

4    automatically more than one shot, without manual reloading, by a single function of the trigger),

 5   specifically, a device commonly known as a "Glock switch," in violation of Title 18, United States

6    Code, Section 922(o).

 7
                             >•


8    COUNT FOURTEEN: (18 U.S.C. § 922(g)(1)- Felon in Possession of a Firearm)

9           18.     On or about January 10, 2019, in the Northern District of California, the defendant,

10                                           GEORGE MOORE JR., -

11   knowingly possessed a firearm, namely, one Mossberg 500A shotgun, bearing serial number K888504,

12   all in and affecting interstate and foreign commerce,knowing he had been previously convicted of a

13   crime punishable by a term of imprisonment exceeding one year, and did so knowingly, all in violation
14   of Title 18, United States Code, Section 922(g)(1).

15

16   COUNT FIFTEEN: (21 U.S.C. § 841(a)(1)- Distribution and Possession with Intent to Distribute
                    Cocaine Base)
17
            19.     On or about January 29, 2018, in the Northern District of California, the defendant,
18

19                                              DANIEL JAMES, ^

20   knowingly and intentionally distributed and possessed with intent to distribute 28 grams or more of a
21   mixture or substance containing a detectable amount of cocaine base, in violation of Title 21, United

22   States Code, Sections 846, 841(a)(1) and 841(b)(l)(B)(iii).

23

24   COUNT SIXTEEN:               (21 U.S.C. § 841(a)(1)- Distribution and Possession with Intent to
                                  Distribute Cocaine)
25

26          20.     On or about March 15, 2018, in the Northern District of California, the defendant,

27                                              DANIEL JAMES,

28   knowingly and intentionally distributed and possessed with intent to distribute a mixture or substance

     SUPERSEDE4G INDICTMENT                          9
     CR 19-00043 YGR
>
               Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 31 of 36




    1   containing a detectable amount of cocaine, its salts, optical and geometric isomers, and salts ofisomers,
2       in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

    3

4       COUNT SEVENTEEN:             (21 U.S.C. § 841(a)(1)- Distribution and Possession with Intent to
                                     Distribute Cocaine Base)
    5

    6          21.     On or about October 7, 2018, in the Northern District of California, the defendant,

    7                                      DEANTAE KENNEDY-PALMER, ^

    8   knowingly and intentionally distributed and possessed with intent to distribute a mixture or substance
    9   containing a detectable amount of cocaine base, in violation of Title 21, United States Code, Sections
10      846, 841(a)(1) and 841(b)(1)(C).

11

12      COUNT EIGHTEEN: ^            (21 U.S.C. § 841(a)(1)-Distribution and Possession with Intent to
                                      Distribute Cocaine Base)
13

14             22.     On or about October 9, 2018, in the Northern District of California, the defendant,

15                                                 DANIEL JAMES,

16      knowingly and intentionally distributed and possessed with intent to distribute 28 grams or more of a
17      mixture or substance containing a detectable amount of cocaine base, in violation of Title 21, United

18      States Code, Sections 846, 841(a)(1) and 841(b)(l)(B)(iii).

19
                               J
20      COUNT NINETEEN:               (21 U.S.C. § 841(a)(1)- Distribution and Possession with Intent to
                                      Distribute Cocaine)
21

22             23.     On or about October 11, 2018, in the Northern District of California, the defendant,

23                                                 DANIEL JAMES,

24      knowingly and intentionally distributed and possessed with intent to distribute a mixture or substance

25      containing a detectable amount of cocaine, its salts, optical and geometric isomers, and salts of isomers,
26      in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

27      ///

28      ///


        SUPERSEDING INDICTMENT                          10
        CR 19-00043 YGR
                 Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 32 of 36



     1    COUNT TWENTY: ^                (21 U.S.C. § 841(a)(1)- Distribution and Possession with Intent to
                                         Distribute Cocaine Base)
 2

                 24.      On or about December 12, 2018, in the Northern District of California, the defendants,
 4                                                  DANIEL JAMES and
                                                       PAUL RIVERA,'
 5

 6       knowingly and intentionally distributed and possessed with intent to distribute a mixture or substance
 7       containing a detectable amount of cocaine base, in violation of Title 21, United States Code, Sections
 8       841(a)(1) and 841(b)(1)(C).
 9
                                     y
10       COUNT TWENTY-ONE: (21 U.S.C. § 841(a)(1)- Distribution and Possession with Intent to
                                         Distribute Cocaine Base)
11

12               25.     On or about January 10, 2019, in the Northern District of California, the defendant,
13                                                   DANIEL JAMES,
14       knowingly and intentionally possessed with intent to distribute a mixture or substance containing a
15       detectable amount of cocaine base, in violation of Title 21, United States Code, Sections 841(a)(1) and
16       841(b)(1)(C).

17

18       COUNT TWENTY-TWO: (21 U.S.C. § 841(a)(1)- Distribution and Possession with Intent to
                           Distribute Cocaine Base)
19

20              26.      On or about January 10, 2019, in the Northern District of California, the defendant,
21                                                TERRY WALKER SR.,
22       knowingly and intentionally possessed with intent to distribute a mixture or substance containing
23       cocaine base, in violation of Title 21, United States Code, Sections 846, 841(a)(1) and 841(b)(1)(C).
24

25       COUNT TWENTY-THREE:(21 U.S.C. § 841(a)(1)- Distribution and Possession with Intent to
                            Distribute Cocaine Base)
26

27              27.      On or about January 10, 2019, in the Northern District of California, the defendant,
28                                                STERLING WALKER, -

         SUPERSEDING INDICTMENT                          11
         CR 19-00043 YGR
             Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 33 of 36




 1   knowingly and intentionally distributed and possessed with intent to distribute 28 grams or more ofa
2    mixture or substance containing a detectable amount of cocaine base, in violation of Title 21, United
3    States Code, Sections 846, 841(a)(1) and 841(b)(l)(B)(iii).

4
                                  ✓

5    COUNT TWENTY-FOUR: (18 U.S.C. § 922(o)- Possession of a Machine Gun)

6           28.     On or about June 28, 2018,in the Northern District of California, the defendant,

7                                                PAUL RIVERA, -

8    unlawfully possessed and transferred a machinegun specifically, a Clock 23,.40 caliber pistol with a
9    device commonly known as a "Glock switch" attached, serial number BXX604,in violation of Title 18,
10   United States Code, Section 922(o).

11

12   COUNT TWENTY-FIVE:^(18 U.S.C. § 922(g)-Felon in Possession of a Firearm)
13          29.     On or about June 28, 2018, in the Northern District of California, the defendant,

14                                               PAUL RIVERA,

15   knowingly possessed a firearm, namely, one Clock 23,.40 caliber pistol, bearing serial number
16   BXX604, and loaded with 12 .40 caliber Federal Smith & Wesson ammunition, all in and affecting
17   interstate and foreign commerce, knowing he had been previously convicted of a crime punishable by a
18   term of imprisonment exceeding one year, and did so knowingly, all in violation of Title 18, United
19   States Code, Section 922(g)(1).

20

21   FORFEITURE ALLEGATION:                (18 U.S.C. § 924,21 U.S.C. § 853, and 28 U.S.C. § 2461(c)-
22   Criminal Forfeiture)

23          1.      The allegations contained above in this Indictment are realleged and by this reference
24   fully incoiporated herein for the purpose of alleging forfeitui-e pursuant to the provisions of 18 U.S.C.
25   § 924 and 21 U.S.C. § 853.

26          2.       Upon a conviction of any of the offenses alleged in Counts One, Three through Fourteen,
27   and Twenty-Four above, the defendants,

28                                               DANIEL JAMES,
                                                 PAUL RIVERA,
     SUPERSEDING INDICTMENT                           12
     CR 19-00043 YGR
            Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 34 of 36




 1                                       DARRYL WASHINGTON,
                                          STERLING WALKER,
 2                                       DARRELL MURPHY JR.,
                                      DESHAWN LEMONS-WOODARD,
 3                                         GEORGE MOORE JR. and
                                             VERNELL THROWER,
 4

 5   shall forfeit to the United States pursuant to 18 U.S.C. § 924(d)(1), any firearms and ammunition

 6   involved in the commission of the offenses, including but not limited to the following property:

 7                TKS Engineering AR15HD .223 cal. rifle, serial no. 0910010
 8                Glock 23 40 cal. pistol with obliterated serial number
                  Glock 19 9mm pistol, serial no. TC928
 9
                  Beretta 84FS Cheetah .380 cal. pistol, serial no. H07025Y
10
                  Smith & Wesson SD .40 cal. pistol, serial no. HFJ0152
11                Springfield Armory XD .40 caliber pistol, serial no. US4275
                  AR-15 style pistol, no manufacturer marks or serial number
12
                  Beretta 96 .40 cal. pistol, serial no. BER080602
13
                  AR-15 style pistol, no manufacturer marks or serial number
14                Fully automatic Glock 23 .40 cal. pistol, serial no. BAEA916
15                Fully automatic Glock 22 40 cal. pistol, serial no. PZL229
                  AR-15 style pistol, no manufacturer marks or serial number
16
                  Springfield Armory XD .45 caliber pistol, serial no. XD639243
17                Springfield Armory XD .40 cal. pistol, serial no. XD565385
18                Springfield Armory XD .45 cal. pistol, serial no. XD667617
                  AR-15 style pistol, no manufacturer marks or serial number
19
                  Short-barreled rifle, no manufacturer marks or serial number
20
                  Kahr Arms P40 .40 cal. pistol, with an obliterated serial number
21                Smith & Wesson 9mm pistol, serial no. FWS8802

22
                  Heckler & Koch USP40 .40 cal. pistol, serial no. 22-27117;
                  Beretta 92FS 9mm pistol, serial no. E38985Z
23
                  Smith & Wesson SD40 VE .40 cal. pistol, serial no. HFW2363
24                Taurus PT99AF 9mm pistol, serial no. TYK51102
25                Anderson Mfg AM-15 5.56mm cal. pistol, obliterated serial no.
                  Anderson Mfg AM-15 5.56mm cal. pistol, obliterated serial no.
26
                  Taurus PT709 Slim 9mm cal. pistol
27
                  Springfield Armory XD40 sub-compact .40 cal. pistol, serial no. US450601
28                Springfield Armory XD40 .40 cal. pistol, serial no. US387906

     SUPERSEDING INDICTMENT                         13
     CR 19-00043 YGR
             Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 35 of 36




1                  Smith & Wesson M&P .38 cal. pistol, serial no. 9076
2                  Unknown mfr, serial no. unknown
                   Glock 30 .45 cal. pistol, serial no. CMT960US
3
                   Glock-type .40 cal. sub-compact pistol, equipped with Glock 27 slide
4                  assembly, serial no. FFF989
                   Bryco Arms Jennings Nine 9mm pistol, serial no. 1563705
5
                   Unknown manufacturer, AK-Type short barreled rifle
6
                   Kimber 1911 Ultra Carry II .45 cal. pistol, serial no. KU234373
7                  Unknown make/model pistol with an "auto switch," seized on January 10,
                   2019
8
                   Unknown make/model pistol, serial no. PF940C, seized on January 10, 2019
9                  Glock 30S,.45 caliber pistol, serial no. YEP619, seized on January 10, 2019
10
                   Glock .45 caliber pistol with extended magazine, seized on January 10, 2019
                   Davis Industries P380 pistol, serial no. AP068569, seized on January 10,
11                 2019

12                 Mossberg 500A shotgun, serial no. K888504, seized on January 10, 2019
                   Smith & Wesson 9mm handgun, serial no. FWF7388
13
                   Glock 23,.40 caliber pistol with an "auto switch," serial no. BXX604
14

15          3.      Upon a conviction of any of the offenses alleged in Count Two and Counts Fifteen
16   through Twenty-Three, the defendants,
17                                                 DANIEL JAMES.
                                                GEORGE MOORE JR.,
18                                                  DALE DAVIS.
                                                TERRY WALKER SR.,
19                                                 PAUL RIVERA.
                                             DARRYL WASHINGTON,
20                                       CAMERON MOORE-WILLIAMS,
                                                STERLING WALKER.
21                                     DEANTAE KENNEDY-PALMER and
                                                      JOE FRANK
22

23   shall forfeit to the United States, pursuant to 21 U.S.C. § 853(a), all right, title, and interest in property
24   constituting and derived from any proceeds the defendants obtained, directly or indirectly, as a result of
25   said violations, and any property used, or intended to be used, in any manner or part, to commit or to
26   facilitate the commission of the said violations. Property to be forfeited includes but is not limited to a
27   forfeiture money judgment and all United States currency and electronic devices, including mobile
28   telephones, seized on or about January 10, 2019.
     SUPERSEDING INDICTMENT                             14
     CR 19-00043 YGR
               Case 4:19-cr-00043-YGR Document 131 Filed 07/18/19 Page 36 of 36
•--k




 1            4.      If, as a result of any act or omission of the defendants, any of said property
 2                    a.      cannot be located upon the exercise of due diligence;

 3                    b.      has been transferred or sold to or deposited with a third person;

 4                    c.      has been placed beyond the jurisdiction of the Court;

 5                    d.      has been substantially diminished in value; or

 6                    e.      has been commingled with other property with cannot be divided without
 7                            difficulty;

 8     the United States of America shall be entitled to forfeiture of substitute property of the defendants

 9     pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 924.
10            All pursuant to 18 U.S.C. § 924(d), 21 U.S.C. § 853,28 U.S.C. § 2461(c), and Federal Rule of
11     Criminal Procedure 32.2.

12

13     DATED: July 18,2019                                           A TRUE BILL.


14

15                                                                   FOREPERSON

16

       DAVID L. ANDERSON
17
       United States Attorney
18

19
       SHIAO C. LEE
20     FRANK J. RIEBLI
       Assistant United States Attorneys
21

22

23

24


25

26

27

28


       SUPERSEDING INDICTMENT                           15
       CR 19-00043 YGR
